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                                 June 6, 2023

                                 Via E-FILE
                                 Hon. Joan M. Azrack
                                 United States District Court, Eastern District of New York
                                 100 Federal Plaza
                                 Central Islip, New York 11722

                                        Re: Goldblatt v. New York Institute of Technology.: 18cv00265 (JMA)(LGD)

                                        Dear Judge Azrack:

                                         I represent Plaintiff, Robert Goldblatt, in connection with the above-referenced matter
                                 and his claim for age discrimination. I write this letter in opposition to Defendant’s letter request
                                 for a pre-motion conference related to Defendant’s request to move for summary judgment.

                                        Material Issues of Fact Preclude Summary Judgment.

                                         Federal Rule of Civil Procedure 56 provides that “the judgment sought should be rendered
                                 only if the pleadings, the discovery and disclosure materials on file, and any affidavits show that
                                 there is no genuine issue as to any material fact and that the movant is entitled to judgment as a
                                 matter of law.” Fed. R. Civ. P. 56(c)(2). In employment discrimination cases, typically,
                                 discriminatory intent is the central issue, as expressed in opposing counsel’s discussion of the
                                 burden shifting analysis under Mcdonnell Douglas. The determination of intent, however, presents
                                 an issue of fact for a jury, and given this reality, the Second Circuit has repeatedly emphasized that
                                 “in an employment discrimination case when…the employer’s intent is at issue, [a] trial court must
                                 be especially cautious about granting summary judgment. Kerzer v. Kingly, Mfg., 156 F.3D 396,
                                 400 (2d. Cir. 1998); Gallo v. Prudential Residential Servs., Ltd. Partnership, 22 F.3D 1239, 1224
                                 (2d. Cir. 1994). Because discrimination claims implicate an employer’s usually unstated intent
                                 and state of mind, see Mieri v. Dacon, 759 F.2d 989, 998 (2d. Cir. 1985), rarely is there a “direct,
                                 smoking gun, evidence of discrimination.” Richards. v. N.Y.C. Bd. Of Educ., 668 F.Supp. 259,
                                 265 (S.D.N.Y. 1987), aff’d 842 F.2d 1288 (2d. Cir. 1988.) Instead, plaintiffs usually must rely on
                                 “bits and pieces” of information to support an inference of discrimination, i.e., a “mosaic” of
                                 intentional discrimination. Gallagher v. Delaney, 139 F.3d 338, 342 (2d. Cir. 1998), abrogated in
                                 part on other grounds by Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 118 S. Ct. 2257, 141
                                 L.Ed.2d 633 (1998).

                                        In the instant matter, there exists numerous material issues of fact that render a proposed
                                 motion for summary judgment futile. Mr. Goldblatt, a man in his late sixties, was employed by
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                               New York Institute of Technology (“NYIT”) for over thirty-years as a tenured professor and
                               clinical psychologist. Through the course of discovery it was concluded that over his thirty-plus years
                               of service to NYIT, there was not one blemish on his employment record despite his lengthy career with
                               NYIT. He repeatedly received contractual renewals to remain employed by NYIT including consistent
                               raises in salary. At the time of his termination Dr. Goldblatt was, due to his years of employment,
                               one of the highest paid employees providing clinical treatment in psychology. Not surprisingly,
                               during the course of depositions, it was uncovered that NYIT replaced Dr. Goldblatt with an
                               individual younger than him and at a lower salary point.

                                       In June of 2016, there was an altercation between Dr. Goldblatt and a patient that he had
                               been treating. As per Dr. Goldblatt’s testimony, the patient made a physical and sexual advance
                               upon Dr. Goldblatt after confessing her attraction to him. Per the testimony, the patient reached
                               for Dr. Goldblatt’s thigh, prompting Dr. Goldblatt to stand in a defensive posture. At that point of
                               the altercation there was additional accidental physical contact as Dr. Goldblatt attempted to
                               dissuade his patient from further advances. Dr. Goldblatt dutifully ended the session with the
                               patient and escorted her out of the office. In further proof of his professionalism, Dr. Goldblatt
                               immediately notified his direct supervisor, Brian Harper, of the altercation and with Mr. Harper’s
                               agreement prepared a letter terminating the doctor-patient relationship with the patient. Per Dr.
                               Goldblatt’s testimony, Mr. Harper reviewed and edited the letter before it was sent to the patient.

                                       Following the altercation, Dr. Goldblatt continued to successfully treat patients on behalf
                               of NYIT. There was no further issues or concerns. NYIT claims that in or around February of
                               2017 they were informed by another doctor/employee from NYIT, Dr. Leder, that Dr. Leder was
                               allegedly told by the patient about the aforementioned June 2016 interaction. NYIT admits in
                               deposition testimony that the decision-makers who terminated Dr. Goldblatt never had direct
                               contact with the patient, nor did they interview her to test her veracity. In fact, they relied solely
                               on statements from Dr. Leder which constitutes inadmissible hearsay. The record shows that,
                               subsequently, Dr. Goldblatt was called to a meeting with Mr. Harper and NYIT’s attorney, Jordan
                               Thompson during which time he was questioned about the interaction that had taken place almost
                               nine months prior. Dr. Goldblatt was never informed that an investigation was being conducted,
                               nor was he informed prior to the meeting that an allegation was made against him. At no time did
                               NYIT explain to Dr. Goldblatt in advance what the meeting would entail, despite being in a
                               position to do so.

                                      Additionally, Dr. Goldblatt was not instructed or advised to bring an attorney to the above-
                               referenced meeting despite the fact that NYIT had legal counsel present. He was not advised of
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                               any measures of protection to which he should have been entitled. A review of the deposition
                               testimony and the record produced during discovery makes it patently clear that the “investigation”
                               that took place nine months following the June 2016 interaction was pretextual in nature, serving
                               as a basis to terminate an aged and expensive employee.

                                       Shortly following the meeting with Mr. Harper and NYIT’s attorney, Dr. Goldblatt was
                               terminated. Notably, the alleged investigation did not include a review of Dr. Goldblatt’s client
                               records, did not include an interview with the patient, did not involve legal representation and/or
                               union representation on behalf of Dr. Goldblatt, and did not even include NYIT’s Human
                               Resources Department. Furthermore, based on the testimony provided in this matter, it is clear
                               that there is a material issue of fact as to what Dr. Goldblatt stated during his surprise meeting with
                               Mr. Harper and NYIT’s counsel versus what Mr. Harper and Mr. Thompson allege was shared.

                                        Applying these facts to the McDonnell Douglas framework, Plaintiff has set forth a prima
                               facie case for discrimination. The legitimate business reasons proffered by Defendant are
                               undoubtedly pretextual in nature. Defendant claims that termination was proper due to patient
                               safety concern. Such belief is in stark contrast to the fact that Dr. Goldblatt remained employed
                               with NYIT for over thirty years, treating countless patients during the course of his employment,
                               and is further challenged by the fact that NYIT was notified of the incident immediately and
                               thereafter allowed Dr. Goldblatt to continue to treat patients for an additional nine months before
                               choosing to terminate him unceremoniously. It should also be noted that the decision-maker in
                               connection with Dr. Goldblatt’s termination is also tasked with making NYIT budgetary decisions
                               as it relates to treating psychologists and their salaries.

                                     Given the material issue of facts present in this matter, a pre-motion conference for
                               Defendant’s proposed summary judgment motion should be denied.

                               Respectfully Submitted,

                               ________/S/_____________
                               Gregory A. Tsonis (GT-5737




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